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                            6 division of Multimedia Holdings
                              Corporation; Scripps Media, Inc. dba
                            7 KNXV-TV; Phoenix Newspapers, Inc.; and
                              KPHO Broadcasting Corporation
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                            9
                                                               UNITED STATES DISTRICT COURT
                           10
                                                                    DISTRICT OF ARIZONA
                           11
                                United States of America,
                           12
Phoenix, AZ 85004-2555
1 East Washington Street




                                                                                    No. CR-15-707-PHX-SRB (MHB)
   Ballard Spahr LLP




                                                  Plaintiff,
                           13
       Suite 2300




                                                                                    CORPORATE DISCLOSURE
                                                  vs.                               STATEMENT FOR KPNX-TV
                           14
                                                                                    CHANNEL 12, A DIVISION OF
                              Abdul Malik Abdul Kareem, aka Decarus                 MULTIMEDIA HOLDINGS
                           15 Thomas,
                                                                                    CORPORATION
                           16             Defendant.
                           17
                           18
                           19                     This Corporate Disclosure Statement is filed on behalf of Multimedia

                           20 Holdings Corporation in compliance with the provisions of: (check one)
                           21                     Rule 7.1, Federal Rules of Civil Procedure, a nongovernmental corporate

                           22                     party to an action in a district court must file a statement that identifies any

                           23                     parent corporation and any publicly held corporation that owns 10% or

                           24                     more of its stock or states that there is no such corporation.

                           25                     Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental

                           26                     corporate party to a proceeding in a district court must file a statement that

                           27                     identifies any parent corporation and any publicly held corporation that

                           28                     owns 10% or more of its stock or states that there is no such corporation.


                                DMWEST #12454390 v1
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                            1                     Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational
                            2                     victim of alleged criminal activity is a corporation the government must file
                            3                     a statement identifying the victim and the statement must also disclose the
                            4                     information required by Rule 12.4(a)(1).
                            5                     The filing party hereby declares as follows:
                            6                     No such corporation.
                            7                     Party is a parent, subsidiary or other affiliate of a publicly owned
                            8                     corporation as listed below. (Attach additional pages if needed.)
                            9                         Multimedia, Inc. and Gannett Co., Inc. Relationship         Subsidiary
                           10                     Publicly held corporation, not a party to the case, with a financial interest in
                           11                     the outcome. List identity of corporation and the nature of financial
                           12                     interest. (Attach additional pages if needed.)
Phoenix, AZ 85004-2555
1 East Washington Street
   Ballard Spahr LLP




                           13                                                  Relationship
       Suite 2300




                           14                            Other(please explain)
                           15
                           16
                           17                     A supplemental disclosure statement will be filed upon any change in
                           18 the information provided herein.
                           19            RESPECTFULLY SUBMITTED this 24th day of June, 2015.
                           20                                                  BALLARD SPAHR LLP
                           21
                           22                                                  By: /s/ David J. Bodney
                                                                                   David J. Bodney
                           23                                                      Brunn W. Roysden
                                                                                   1 East Washington Street, Suite 2300
                           24                                                      Phoenix, AZ 85004-2555
                           25                                                      Attorneys for KPNX-TV Channel 12, a
                                                                                   division of Multimedia Holdings
                           26                                                      Corporation; Scripps Media, Inc. dba
                                                                                   KNXV-TV; Phoenix Newspapers, Inc.; and
                           27                                                      KPHO Broadcasting Corporation

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                           1                                 CERTIFICATE OF SERVICE
                           2             I certify that on the 24th day of June, 2015, I electronically transmitted a PDF
                           3 version of this document to the Office of the Clerk of the Court, using the CM/ECF
                           4 System for filing and transmittal of a Notice of Electronic Filing to all CM/ECF
                           5 registrants listed for this matter.
                           6
                                                                          By: /s/ Susan Brady Pearce
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